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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


BRENNAN W.W. BEHNKE,                 )
                                     )
                     Plaintiff,      )
                                     )
vs.                                  )       Civil Action No. 18-1318
                                     )
KURT D. SPARTZ and                   )
T&C TRUCKING, LLC,                   )
                                     )
                     Defendants.     )
                                     )


                                         COMPLAINT


       COMES NOW plaintiff, Brennan W.W. Behnke, and for his cause of action against

defendants, Kurt D. Spartz and T&C Trucking, LLC, alleges and states as follows:

       1.     Plaintiff is a resident and citizen of the State of Kansas.

       2.     Defendant Kurt D. Spartz is a resident and citizen of the State of Minnesota.

       3.     Defendant T&C Trucking, LLC is a Minnesota corporation.

       4.     Jurisdiction is conferred on this Court pursuant to 28 USC § 1332 in that it involves
              citizens of different states and a sum in controversy in excess of $75,000.00
              exclusive of interest and costs.

       5.     On August 15, 2018, in Pawnee County, Kansas, defendant, Kurt D. Spartz,
              negligently operated a motor vehicle thus causing a motor vehicle accident involving
              Plaintiff.

       6.     At the time of said negligence, Kurt D. Spartz was in the course of his employment
              with T&C Trucking, LLC. Therefore, said employer is vicariously liable for its
              employee’s negligence.

       7.     As a result of defendant Kurt D. Spartz’s negligence, Plaintiff sustained personal
              injury and other damages.
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       WHEREFORE plaintiff, Brennan W.W. Behnke prays for judgment against defendants, Kurt

D. Spartz and T&C Trucking, LLC, and each of them, as follows:

              a.     For actual damages for a sum in excess of $75,000.00;

              b.     For the costs of this action; and

              c.     For such other and further relief as the Court deems just and equitable.




                                                    /s/ Timothy J. King
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